Case 2:15-cv-05346-CJC-E Document 438-59 Filed 10/09/20 Page 1 of 2 Page ID
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                   Exhibit
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment




                                                               Evidence Packet P.0846
Case 2:15-cv-05346-CJC-E Document 438-59 Filed 10/09/20 Page 2 of 2 Page ID
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                                                                     Evidence Packet P.0847
